                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                      CRIMINAL DOCKET NO. 3:97CR155-9-V

UNITED STATES OF AMERICA            )
                                    )
                                    )
            v.                      )                    ORDER
                                    )
DAVID BABB LOWRY,                   )
                  Defendant.        )
____________________________________)

       Defendant David Babb Lowry moves the Court to terminate his term of supervised

release. (Document #1063) The Defendant so moves because he has complied with each

and every condition of his confinement in prison and term of supervised release and has no

restitution/fine obligation. The United States Probation Office does not object to the filing

of this Motion as Defendant has successfully completed 54 of his 60 months of supervised

release – satisfying the district’s policy of requiring 2/3 completion of the term before

recommending early termination. Likewise, the United States Attorney’s Office does not

object to this Motion. The Defendant has shown good cause for the granting of this Motion.

       IT IS, THEREFORE, ORDERED that the Defendant’s Motion to Terminate his

term of supervised release is GRANTED.

                                                  Signed: August 20, 2009




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